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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

NATIONAL COUNCIL OF
NONPROFITS, et al.,

Plaintiffs,
                                          Case No. 25-cv-239
v.

OFFICE OF MANAGEMENT AND
BUDGET, et al.,

Defendants.



                  PLAINTIFFS’ REPLY IN SUPPORT OF
                MOTION FOR A PRELIMINARY INJUNCTION

      Plaintiffs have shown that a preliminary injunction is warranted. Unable to

confront that analysis head-on, Defendants focus on a sideshow of their own creation.

Rather than defend their actual Freeze Order, they imagine a different one and

defend that instead. Rather than addressing the authority of the actual defendants

in this lawsuit, they discuss the President’s. Unable to explain the continued

implementation of the Order even after its “rescission,” they suggest it was just a

coincidence, or agencies gone rogue. And unable to address the real and irreparable

harm to thousands of grant and loan recipients who lost funding without notice and

were forced to shutter critical programs, Defendants imagine that they are the ones

at risk of injury. The Court should conclude otherwise.




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                                    ARGUMENT

 I.   Plaintiffs are likely to succeed on the merits of their claims.

          A. The Freeze Order commanded an immediate halt to nearly all
             federal financial assistance.

      The Freeze Order unambiguously told agencies to halt payment of “all” federal

financial assistance (subject to limited exceptions). Defendants now say it merely

froze funds for programs already frozen by the President’s executive orders. That

cannot be squared with the language of the Order or the factual record. As the Court

found, “Memorandum M-25-13 did not specify certain funds to be frozen; it froze all

of them.” TRO Order at 21, ECF No. 30. Defendants’ inability to defend that action is

powerful evidence that Plaintiffs are likely to succeed on the merits.

      The express terms of the Order left no doubt that it required agencies to halt

“all activities related to obligation or disbursement of all Federal financial

assistance.” Freeze Order at 2 (emphasis added). Defendants seek (at 12, 21) to escape

that conclusion with an implausible parsing of this sentence from the Order:

      … Federal agencies must temporarily pause all activities related to
      obligation or disbursement of all Federal financial assistance, and other
      relevant agency activities that may be implicated by the executive
      orders, including, but not limited to, financial assistance for foreign aid,
      nongovernmental organizations, DEI, woke gender ideology, and the
      green new deal.

Id. (emphasis in original). Defendants claim that the phrase “that may be implicated

by the executive orders” should be read to modify the command to “pause all activities

related to obligation or disbursement of all Federal financial assistance.” Defendants

are wrong. The Order separately commands a pause of (1) all activities related to




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obligation or disbursement of all Federal financial assistance, and (2) other relevant

agency activities that may be implicated by the executive orders. It would defy basic

grammar and ordinary usage to read a limitation that is specific to the latter category

as applying to the former.

      Any doubt is removed by the rest of the Freeze Order. As Plaintiffs previously

showed, ECF No. 40, at 4, and Defendants fail to address, the Order reiterates several

times the breadth of the commanded freeze. The very next paragraph directs agencies

“to pause all activities associated with open NOFOs [notices of funding opportunity],”

Freeze Order at 2 (emphasis added), without limiting that command to programs

covered by an executive order. The next paragraph repeats that “[e]ach agency must

pause: (i) issuance of new awards; (ii) disbursement of Federal funds under all open

awards; and (iii) other relevant agency actions that may be implicated by the

executive orders. . . .” Id. (emphasis added). And the Order gives agencies just 24

hours to implement the freeze–a timeline that is wholly inconsistent with Defendants’

story that agencies were supposed to review thousands of grants and freeze only those

implicated by the executive orders.

      Stepping back, it appears to be undisputed that the purpose of the Order is to

halt payments of federal financial assistance so that agencies can review those

programs and determine which may be implicated by the executive orders. See id.

(“To implement these orders, each agency must complete a comprehensive analysis

of all of their Federal financial assistance programs to identify programs, projects,

and activities that may be implicated by any of the President’s executive orders.”).




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Defendants’ new interpretation of convenience makes no sense in light of that express

purpose: In Defendants’ telling, the Order commanded a pause only of programs

implicated by the executive orders in order to allow agencies to identify which

programs were implicated by the executive orders.

      Worse for Defendants, nothing in the record suggests that any agency

interpreted or implemented the Freeze Order in the way Defendants now urge. To the

contrary, the evidence shows that agencies well understood what they were being told

to do. The National Science Foundation and Environmental Protection Agency, for

example, stated clearly that they were halting all payments at the command of the

Freeze Order. ECF No. 24-1; ECF No. 24-2.1 And just like NSF and EPA, numerous

other agencies implemented the Order by taking offline the centralized funding

portals through which recipients of federal financial assistance draw on open awards,

making all funds functionally unavailable. E.g., ECF No. 24-5 ¶¶ 17–19. That

approach is entirely inconsistent with an effort to freeze only certain awards. As

Defendants have previously conceded, ECF No. 26 at 6-7, numerous declarations in

this case describe halts to payments on open awards, starting at the time the Freeze

Order was issued, that cannot possibly be attributed to the executive orders

themselves, e.g., ECF No. 24-6.

      Defendants make much of a “guidance” document OMB put out the day after

its Freeze Order. See ECF No. 11-1. That document, however, is no more meaningful



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 Defendants say (at 9 n.1), without elaboration, that “those were errors.” But the only
“error” appears to have been that the agencies candidly acknowledged what they were
doing and why.

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than Defendants’ purported “rescission” the next day. Far from interpreting the

Freeze Order, the “guidance” is inconsistent with it, creating confusion, not clarity.

For example, while the Order commands a halt to “all activities related to obligation

or disbursement of all Federal financial assistance,” the clean-up effort claims that

“[a]ny program not implicated by the President’s Executive Orders is not subject to

the pause.” While the Order excludes any “assistance [i.e., money] received directly

by individuals,” the rewrite claims more broadly that “[a]ny program that provides

direct benefits to individuals is not subject to the pause.” The “guidance” also

describes entirely new carveouts for “mandatory programs like Medicaid and SNAP,”

plus “small businesses, farmers, Pell grants, Head Start, rental assistance, and other

similar programs.”2

      While in some cases a follow-on guidance document may functionally modify a

challenged policy, that was not the case with this guidance. Rather, the record

evidence establishes that the Freeze Order was implemented as written even after

the guidance issued. For example, contrary to the “guidance,” agencies paused

payments to small businesses and to Head Start programs. ECF No. 24-6; ECF

No. 24-3 at 74. Also contrary to the “guidance,” they cut off funding to numerous

programs that “provide[] direct benefits to individuals.” E.g., ECF No. 24-5 ¶¶ 14–16

(program to curtail violent crimes against women); ECF No. 27-1 ¶¶ 4–5 (care center



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  These exclusions for small businesses, farmers, and others cannot be reconciled
either with the actual Freeze Order (which halted essentially all payments) or with
the more limited order Defendants make believe here (which they say halted only
programs implicated by the executive orders), since small businesses and farmers are
just as capable as anyone else of championing “wokeness” or “Marxist equity.”

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for those with disabilities). “Both logic and record evidence point to the . . . conclusion”

that agencies did so at the command of the Freeze Order. See TRO Order at 17. Just

as the rescission of the Freeze Order should not permit the evasion of legal review,

the guidance did not change the policy as implemented or undo the damage it caused.

       The Court therefore should dismiss the “guidance” as either irrelevant to the

policy that was actually implemented and challenged here, or merely another

unsuccessful attempt at voluntary cessation, see infra Part I.C.

          B. As this Court previously found, Plaintiffs have standing.

       Defendants complain (at 8) that Plaintiffs “make no effort” to establish this

Court’s jurisdiction. In fact, Plaintiffs already made that effort, see ECF No. 24 at 13–

21, the Court agreed just two weeks ago, TRO Order at 6–19, and nothing has

changed since then, beyond the relief this Court ordered as a result of that finding.

Defendants identify no good cause to reconsider that prior holding now.

       As to injury in fact, this Court previously found that Plaintiffs have put forth

evidence that “the harms caused by the freeze are non-speculative, impending, and

potentially catastrophic,” detailing “that many organizations need weekly injections

of federal funds in order to continue operating.” TRO Order at 8–9. Rather than

disputing that conclusion—or addressing in any way the detailed declarations

Plaintiffs have provided—Defendants now argue that because these injuries do not

flow from the executive orders mentioned in the Freeze Order, they must have been

caused by independent agency decisions, and not the Freeze Order itself.




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       In short, Defendants—without providing a shred of supporting evidence—ask

(at 12) this Court to believe that agencies across the federal government all

independently happened to decide to freeze funding on a moment’s notice at the exact

same time that OMB ordered them to do so, and then independently each happened

to decide to unfreeze their funding when OMB informed them of the TRO entered by

this Court. The more reasonable inference is that the Freeze Order itself, and not the

executive orders, caused the widespread freeze, and that the agencies were simply

doing as OMB directed. This inference is also amply supported by statements from

agencies themselves explaining that is precisely what they were doing. ECF No. 24-

1; ECF No. 24-2. Justice may be blind, but it need not be blinkered to reality. See TRO

Order at 13 (noting that Defendants’ “explanation ignores both logic and fact”).

       Defendants further argue (at 12) that Plaintiffs’ First Amendment claims fail

to identify the specific expressive activity that is threatened, and that Plaintiffs’ fears

of lost future funding are irrelevant to this case. But the Court has already disposed

of these arguments. TRO Order at 8. As the Court explained, Plaintiffs “claim that

Defendants have singled out their funding programs (in other words, their economic

lifelines) based on their exercise of speech and association.” Id. It is that exercise of

speech and association—made manifest in the positions Plaintiffs take on issues such

as gender, racial equity, and environmental policy—that Plaintiffs claim is infringed

by OMB’s action. See ECF No. 5-2 ¶ 14; ECF No. 5-3 ¶ 15; ECF No. 5-4 ¶¶ 29, 31;

ECF No. 5-5 ¶ 8.




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      As to causation, Defendants again base their arguments on a version of the

Freeze Order that simply does not exist. Defendants claim (at 13) that the Freeze

Order does not itself determine which grants are frozen, but leaves that to agency

discretion. But it is impossible to square that belief with the plain text of the Freeze

Order, as described above, see supra Part I.A, or with the fact that meaningful

exercise of any such discretion would be impossible to undertake in the limited time

before the Freeze Order took effect, see TRO Order at 17. Defendants have no

counterargument: The only authority they cite is an out-of-circuit case this Court has

already deemed inapposite because, unlike the Freeze Order, the executive order at

issue there required no action from federal agencies. See id. at 10–11 (distinguishing

Louisiana ex rel. Landry v. Biden, 64 F.4th 674 (5th Cir. 2023)).

      And as to redressability, Defendants again attempt (at 14) to shift blame to

other agencies. But see TRO Order at 12–13. But the thrust of Plaintiffs’ complaint is

that OMB—not other agencies—is the author of their injuries through OMB’s clear

directive, which did not provide agencies with any meaningful discretion. As a last

effort, Defendants point out (again at 14) that agencies may later decide to freeze

Plaintiffs’ funding on their own. But speculation that other actors may take future

actions that harm Plaintiffs cannot preclude this Court from affording relief against

Defendants who, absent a Court order, risk harming Plaintiffs now.

          C. As this Court previously found, this case is not moot.

      Defendants likewise recycle their mootness argument—with a twist. Unable to

offer a compelling reason for this Court to reconsider its ruling applying the voluntary




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cessation exception to mootness, Defendants argue (at 10) that things have changed

since the Court entered its TRO. Specifically: The Court entered its TRO, and as a

result, many of Plaintiffs’ members have had their funding restored. Defendants now

say that, because they appear to have taken steps to comply with the TRO they so

strongly resisted, it would be speculative to believe that they would resume their pre-

TRO behavior. But if Defendants were right about that logic, then no court could ever

enter a preliminary injunction following a TRO.

      Defendants further argue (at 10–11) that mootness applies specifically in the

preliminary injunction context, but fail to explain how this analysis would operate

differently than it did for the TRO. In any event, this is little more than an effort to

end-run around the voluntary cessation analysis: The cases on which Defendants rely

(at 11) are clearly inapplicable here. In one, the Sixth Circuit found a preliminary-

injunction appeal moot where Plaintiffs complained of a rule that had already been

repealed and replaced—on the theory that another court could enjoin both the repeal

rule and the replacement rule, and do so nationwide. Ohio v. EPA, 969 F.3d 306, 307–

10 (6th Cir. 2020). In another, the District of South Dakota found that the requested

preliminary relief—the establishment of satellite early voting locations—was moot

because the defendants had voluntarily granted that exact relief, which was already

in process. Brooks v. Gant, No. 12-cv-5003, 2012 WL 871262, at *1–2 (D.S.D. Mar. 14,

2012). And in a third, the Southern District of New York found that there was no

threat of irreparable harm where a defendant in a trademark infringement suit had

redesigned its mark in response to the plaintiff’s objections. Int’l Gemmological Inst.,




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Inc. v. Indep. Gemological Labs, Inc., No. 00-cv-4897, 2000 WL 1278179, at *1

(S.D.N.Y. Sept. 7, 2000).

      Here, Defendants suggest that preliminary relief is moot because they, too,

have voluntarily provided the relief sought. But they did not. As the Court’s prior

analysis made clear, TRO Order at 14–17, the purported rescission of the Freeze

Order did not in fact provide that relief at all. It was only the issuance of the TRO—

not the rescission—that provided Plaintiffs and their members with the relief they so

desperately needed: funding from grants that had already been awarded to them, and

against which guarantee they had already incurred expenses. 3 Finding mootness now

would only imperil that relief.

      Lastly on mootness, Defendants argue (at 25) that the arbitrary and capricious

claim is moot, because any future across-the-board freeze would be supported by

better reasoning than the Order challenged here. Setting aside the question of

whether any explanation could possibly render such action “reasonable,” this

argument is just another attempt to resist application of the voluntary cessation

doctrine. As the Court found, TRO Order at 14–19, the Order’s purported “recission”




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 Defendants glibly suggest (at 11) that if they revive the Freeze Order, Plaintiffs can
simply file another motion for a preliminary injunction. But neither Plaintiffs nor
this Court should be forced into more emergency proceedings because of Defendants’
conduct. And, as the evidence shows, the uncertainty that would be created by
Defendants’ approach is its own form of injury. See ECF No. 24-7 ¶¶ 25–26; ECF
No. 40-4 ¶¶ 6, 11–17. Defendants also were unable to turn the spigot of funding on as
quickly as they turned it off, see ECF No. 40 at 33–34, meaning that even if Plaintiffs
were to seek and the Court to grant a preliminary injunction in the future, such an
order may not provide practical relief for days or even weeks.

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did not stop its continued implementation—without Defendants or anyone else

providing any additional rationale.4

          D. Plaintiffs are likely to show final agency action and ripeness.

      As the Court previously concluded, the Freeze Order constitutes final agency

action subject to judicial review under the APA. TRO Order at 21–23; see also ECF

No. 40 at 12–15. Defendants can muster no persuasive reason the Court should

reconsider that ruling. And their claims about ripeness fare no better.

      They repeat (at 15) their claims that the Order did not itself freeze any funds,

but that assertion is belied by common sense and the factual record, which confirm,

for example, that agencies halted payments on open awards in direct response to the

Order. See, e.g., ECF No. 24-1; ECF No. 24-2. They again seek (at 15–16) to portray

Plaintiffs’ challenge to a specific agency action and its implementation as “an

amorphous programmatic challenge.” But simply repeating this claim does not make

it true. The fact that Defendants’ unlawful Freeze Order threatens to affect so many

thousands of grant recipients is part of why the action is unreasonable; it does not

insulate that unreasonable action from review. And unlike this case, Defendants’


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 Indeed, it is far from clear that, even now, the rippling effects of the Freeze Order
have stopped. As Plaintiffs previously pointed out, ECF No. 40 at 9 & n.6, reporting
shows that the director of FEMA’s Office of Grant Administration directed her team
to put a “hold” on all open awards. Defendants’ counsel has now apprised Plaintiffs
that “the employee’s use of the word ‘hold’ was not intended to direct a freeze on
grant payments, but to enable further review of payment requests,” and that the
director has subsequently clarified that the team is “not holding on awards” and
“will still be processing” them, “but will be adding a level of internal controls to
ensure that payment requests are reviewed prior to payments be released [sic] to
recipients.” Although now framed as holding payments pending an indefinite and
unspecified review, a distinction likely without much difference, it is telling that the
employee first described the action as an across-the-board freeze.

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cited cases (at 16) did not involve challenges to specific final agency action and

therefore are readily distinguishable.

      This case is also ripe for the Court’s review. Ripeness requires that “that an

injury in fact be certainly impending.” Nat’l Treasury Emps. Union v. United States,

101 F.3d 1423, 1427 (D.C. Cir. 1996). “[I]f a threatened injury is sufficiently

‘imminent’ to establish standing, the constitutional requirements of the ripeness

doctrine will necessarily be satisfied.” Id. at 1428. As Plaintiffs have detailed, the

injury from Defendants’ action is not some far-off, speculative event; it was already

occurring until this Court entered a temporary restraining order to stop it.

      Defendants nonetheless protest (at 17, 19) that Plaintiffs’ arbitrary and

capricious and First Amendment claims are not ripe because they “necessarily

require fact-specific analysis.” Not so. That the Order was not “reasonable and

reasonably explained,” Ohio v. EPA, 603 U.S. 279, 292 (2024), is clear from the face

of the Order itself. And the fact that it is arbitrary and capricious warrants holding

it unlawful as to all recipients with open awards—not just some. See, e.g., Nat’l

Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998)

(“When a reviewing court determines that agency regulations are unlawful, the

ordinary result is that the rules are vacated—not that their application to the

individual petitioners is proscribed.”). Defendants fail to explain what further facts

they believe need to be developed with respect to this claim, and the cases they cite

(at 17) do not hold that agency action may be set aside as arbitrary and capricious

only if it can be shown to be arbitrary and capricious in every application.




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      Similarly, for Plaintiffs’ First Amendment claim to succeed, and contrary to

Defendant’s position (at 19), Plaintiffs would not need to establish that the Order

stifles the free expression of every funding recipient with an open award. See, e.g.,

Moody v. NetChoice, LLC, 603 U.S. 707, 723 (2024) (explaining that courts will hold

a law facially invalid under the First Amendment even where just “a substantial

number of [the law’s] applications”—rather than all of them—“are unconstitutional”).

          E. Plaintiffs are likely to show the Freeze Order is arbitrary.

      The Court previously held that Plaintiffs were likely to show that the Freeze

Order is arbitrary and capricious. TRO Order at 23–26. That remains the case.

      Defendants’ response falls flat. Defendants repeat (at 27–28, 29–30) their view

that the Order is reasonable because it: describes its objectives; exempts Medicare,

Social Security, and payments directly to individuals; provides for the theoretical

possibility of additional exemptions on a “case-by-case” basis; “pause[s]” funding

instead of canceling it outright; and “provide[s] a delayed effective date” (of the very

next day). As Plaintiffs have explained, however, ECF No. 40 at 20–21, none of these

attributes makes the Order rational. While without them, the Order would have been

even more irrational, that is hardly sufficient. If identifying ways that an agency

action could have been worse were enough to defeat an arbitrary and capricious

challenge, no action would ever be held unlawful under that standard.

      Defendants disparage (at 28) the obvious alternative approach they could have

taken: reviewing grants while those programs operated as normal. But their

justifications for doing so are unpersuasive and, crucially, entirely post hoc,




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appearing nowhere in the Order itself. See, e.g., Motor Vehicle Mfrs. Ass’n of U.S., Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983) (explaining that “courts may

not accept . . . counsel’s post hoc rationalizations” and that “an agency’s action must

be upheld, if at all, on the basis articulated by the agency itself”).

      So Defendants try (repeatedly) to change the subject to the President. They

contend (at 26) that an agency cannot violate the APA if it is carrying out the

President’s orders. That is a shocking position that, if accepted, would eviscerate the

APA’s foundational requirement that agency action be both “reasonable and

reasonably explained.” See Ohio v. EPA, 603 U.S. at 292. It would mean, for example,

that all an administration needs to do to insulate agencies’ actions from arbitrary-

and-capricious review would be to have the President order that those actions be

taken. But while the Court should soundly reject that view, it need not even address

it here. That is because, try as Defendants might to obscure this fact, nothing in the

record so much as suggests—let alone demonstrates—that the President instructed

Defendants to issue the blanket freeze order. 5

       For this reason among others, Defendants’ cited cases (at 26) are far afield.

Franklin v. Massachusetts involved an action taken by the President—not an agency.

505 U.S. 788, 796 (1992). The same is true of Dalton v. Specter, 511 U.S. 462, 470–72

(1994). And in Ancient Coin Collectors Guild v. Customs & Border Protection, the

agency defendant was acting pursuant to an express delegation of the President’s


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 Public reporting suggests just the opposite: that the Freeze Order “was produced by
the budget office alone” and not shared beforehand with the White House. Ashley
Parker, The Memo That Shocked the White House, The Atlantic (Jan. 29, 2025),
https://www.theatlantic.com/politics/archive/2025/01/omb-white-house/681506/.

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authority under statute, and “in the realm of foreign affairs,” which the court found

significant. 801 F. Supp. 2d 383, 401–03 (D. Md. 2011), aff’d on other grounds,

698 F.3d 171 (4th Cir. 2012).

      Defendants further allege (at 28–29) that “Plaintiffs are asking this Court to

impose arbitrary timetables on the Executive.” What Plaintiffs are actually urging is

that arbitrary and capricious agency action is unlawful under the APA, and that the

24-hour timetable that OMB gave agencies to turn off potentially trillions in federal

financial assistance is one reason that action was arbitrary. Nor was the decision to

impose that timetable made by “the Executive”—assuming that term, which

Defendants’ response uses repeatedly, is meant to invoke the President. 6

         F. Plaintiffs are likely to show that OMB lacks statutory authority
            for the Freeze Order.

      Plaintiffs are likely to prevail on this claim as well, because agencies such as

OMB “‘literally ha[ve] no power to act’ except to the extent Congress authorized

them,” Marin Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th 902, 912 (D.C. Cir.

2024) (quoting FEC v. Cruz, 596 U.S. 289, 301 (2022)), and no statute authorized

OMB to order a near total and near immediate halt to all federal financial assistance

programs, see ECF No. 40 at 21–26.

      Defendants are unable to point to any statutory provision that would clearly

give them this authority. They resort instead (at 32–33) to certain general



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 Although Defendants again trot out (at 28–29) some executive orders in which
past Presidents—not OMB—ordered delays to funding for specific projects, the mere
existence of those program-specific pauses does not establish that Defendants’
Freeze Order was reasonable.

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responsibilities of OMB’s deputy director for management. See 31 U.S.C. § 503(a).

But none of those responsibilities—e.g., “[m]onitor the financial execution of the

budget in relation to actual expenditures”—even imply the sweeping authority OMB

claims for itself here. And the statutory context in which they appear—as duties that

the agency’s second-in-command must carry out, “[s]ubject to the direction and

approval of the Director,” 31 U.S.C. § 503(a)–strongly suggests they do not include

the authority to shut off federal financial assistance nationwide on 24 hours’ notice. 7

And that’s before even getting to the major questions doctrine, which Defendants

barely address (at 33–34) but which requires identifying a clear statement from

Congress before concluding that Congress has “authoriz[ed] an agency to exercise

powers of vast economic and political significance.” Nat’l Fed’n of Indep. Bus. v.

OSHA, 595 U.S. 109, 117 (2022).

      Offering a new theory, Defendants point (at 31–32) to 31 U.S.C. §§ 1512 and

1513(b), which authorize OMB to apportion appropriations. Defendants acknowledge

that they did not rely on this authority in issuing the Freeze Order and are careful

not to actually say that they could have, see Opp’n at 32 (“if OMB had authority to

implement the pause through apportionment. . . .” (emphasis added)), ECF No. 47.

It is doubtful they could have done so for all federal financial assistance programs



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  Defendants’ resort (at 32–33) to Congress’s purposes in establishing the deputy
director for management position does not help them. See Pub. L. No. 101-576, § 102,
104 Stat. 2838, 2838 (1990). Congress’s goal of improving “management functions” so
as to promote “a modern Federal financial management structure and associated
systems” hardly implies an authority to unilaterally freeze payments to thousands of
clinics, shelters, emergency relief programs, medical researchers, small businesses,
and many other recipients of federal funding across the country.

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simultaneously, given the procedures OMB must follow in order to apportion funds.

See, e.g., 31 U.S.C. § 1513(b)(2) (requiring that apportionment take place at specific

times); Pub. L. No. 117-103, §§ 204, 748, 136 Stat. 49, 256-57, 306 (2022) (requiring

that OMB make public and report to Congress its apportionment decisions, and

specifically requiring OMB to notify Congress when such decisions “may hinder the

prudent obligation of [an] appropriation or the execution of a program, project, or

activity”). For present purposes, it suffices to say that Defendants’ vaguely developed

reference to an entirely different authority, one they acknowledge they did not use

and do not actually show they could have used, does nothing to defeat Plaintiffs’

showing that they are likely to succeed on this claim.

          G. Plaintiffs are likely to show that the Freeze Order is contrary
             to the First Amendment.

      The Freeze Order commands agencies to halt payments to federal financial

assistance programs in order to identify grant recipients that have expressed or

somehow associated themselves with disfavored viewpoints such as “woke gender

ideology” and “Marxist equity.” The result is a direct and immediate threat to the

rights of free speech and association that Plaintiffs and other recipients of federal

funding enjoy under the First Amendment. See ECF No. 5-2 ⁋ 14 (describing grant

recipient’s reasonable fear that its “future receipt of federal financial assistance will

depend on [its] past and future exercise of its First Amendment rights”); ECF No. 5-

4 ⁋ 31 (describing the Order’s chilling effect on “[public health professionals’]

research, our work, our expression, and our speech”). Plaintiffs are likely to succeed

in showing that Defendants’ obvious attempt “at the suppression of dangerous ideas”


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via “subsid[ies] . . . manipulated to have a coercive effect,” see Nat’l Endowment for

the Arts v. Finley, 524 U.S. 569, 587 (1998), is unconstitutional.

      As they have throughout, Defendants rely almost entirely on a single decades-

old decision, Rust v. Sullivan, 500 U.S. 173 (1991), and ignore the many cases

Plaintiffs have cited emphasizing that subsidies may not be used to suppress

disfavored ideas such as “wokeness,” see ECF No. 40 at 28–30. The Supreme Court,

however, has cabined Rust’s reasoning in ways that make clear it does not apply here.

As the Court stated in Legal Services Corp. v. Velazquez, it has since understood Rust

as being limited to situations in which the subsidized activities “amounted to

governmental speech.” 531 U.S. 533, 541 (2001). Here, by contrast, no one could

reasonably attribute the expressive conduct of the many thousands of recipients of

federal financial assistance to the government. Cf. id. at 543–44 (distinguishing Rust

because the speech at issue “cannot be classified as governmental speech even under

a generous understanding of that concept”).

      The more relevant authority in this area is Chief Justice Roberts’s opinion for

the Court in Agency for International Development v. Alliance for Open Society

International, Inc., 570 U.S. 205 (2013). That decision squarely holds that while

Congress may “define the limits of the government spending program” by

“specify[ing] the activities Congress wants to subsidize,” it may not prescribe

“conditions that seek to leverage funding to regulate speech outside the contours of

the program itself.” Id. at 214–15. As Plaintiffs have explained and Defendants have




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failed to rebut, see ECF No. 40 at 29–30, Plaintiffs are likely to establish that the

Freeze Order falls on the wrong side of that line.8

      A few other points are worth addressing. Defendants seem to suggest (at 36)

that Plaintiffs are unlikely to succeed on this claim unless every grantee describes a

concern for their ability to engage in expressive conduct. That is not how the First

Amendment works. See, e.g., Moody, 603 U.S. at 723 (explaining that laws may be

held facially invalid even if not unconstitutional in all applications). Defendants

invoke (at 35) the discussion of lump-sum appropriations in Lincoln v. Vigil, 508 U.S.

182 (1993), but the Freeze Order commanded a near across-the-board halt to

payments on financial assistance programs—not the allocation to different objects of

a lump-sum appropriation. And Defendants seek to portray (also at 35) the

undisguised hostility of the Order’s language as just a valid exercise of government

speech. But what it underscores is the Order’s clear and obvious purpose to suppress

viewpoints with which the administration disagrees. Cf. Masterpiece Cakeshop v.

Colo. C.R. Comm’n, 584 U.S. 617, 634–38 (2018) (finding that state violated its “duty

under the First Amendment not to base laws or regulations on hostility to a



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 Indeed, as Defendants acknowledge (at 36), one of the executive orders that the
Freeze Order purports to help implement specifically instructs agencies to identify
grant recipients to OMB based on their past speech or association with disfavored
ideas—not the activities for which they are presently receiving funding. See Exec.
Order No. 14,151 § 2(b)(ii)(C), Ending Radical and Wasteful Government DEI
Programs and Preferencing, 90 Fed. Reg. 8339, 8340 (Jan. 20, 2025). While that
order is not itself before the Court here, it confirms that as to the broader freeze,
Defendants are not merely engaged in an effort to define the activities that should
be federally subsidized going forward. To be clear: Although the executive orders
may well violate the First Amendment (or be otherwise unlawful) themselves, the
Freeze Order is responsible for an independent First Amendment injury.

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[particular] viewpoint” where state’s conduct suggested “a clear and impermissible

hostility toward” that viewpoint).

    II.   Plaintiffs have amply demonstrated the irreparable harm they face.

          Plaintiffs “easily meet their burden” to show irreparable injury through the

many documented examples of “existential injuries” their members will suffer. TRO

Order at 26–27. Plaintiffs have also shown irreparable harm to themselves and their

members from being unable to carry out their core missions and from the

infringement of core First Amendment rights. See ECF No. 40 at 30–35.

          Rather than grapple with those injuries, Defendants repackage their standing

and mootness claims—to no greater effect. Once more, they contend (at 37–38) that

because the declarants can now draw on their open awards, any fears of a resumed

funding freeze are mere speculation. But—again—this argument fails to

acknowledge that the declarants received relief only because this Court ordered it.

See supra Part I.C. Plaintiffs need not show, as Defendants suggest, “proof” that the

Freeze Order would be reissued; as this Court has found, a large part of the problem

is that the Freeze Order was never truly rescinded. See TRO Order at 16–17.9

          As to the irreparable harm incurred by Plaintiffs’ First Amendment violation,

Defendants largely repeat their standing arguments, which fail to convince for the

same reasons. See supra Part I.B. Defendants reiterate their view that because the


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  Defendants seek (at 38) to distinguish League of Women Voters v. Newby, 838 F.3d
1 (D.C. Cir. 2016), because that case “involved a threat of prospective harm arising
from clearly defined agency action that was still in place.” As this description
suggests, Defendants miss the point: League of Women Voters is relevant here
precisely because, as in that case, the action of which Plaintiffs complain still
threatens to harm them, but for the temporary restraining order holding it at bay.

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Freeze Order was purportedly rescinded, any First Amendment injury must be

caused by actions outside the scope of this lawsuit. This argument again overlooks

that the Order was not truly rescinded and that its implementation was reversed only

by the Court’s intervention.

III.   The public interest weighs strongly in favor of injunctive relief.

       Defendants likewise offer no cause to disturb this Court’s finding that “the

balance of the equities and public interest heavily favor” injunctive relief. TRO Order

at 29. They once again rely (at 40) on debunked arguments that no harm can flow

from a rescinded memo, and that the harm that immediately followed the Freeze

Order was due to some other mysterious, unnamed source.

       Defendants ignore the “far-reaching effects” of the Freeze Order, TRO Order

at 28, preferring to focus closer to home: They contend that the only harm at issue is

the irreparable injury they will suffer by being prevented from “effectuating statutes

enacted by representatives of [the] people.’” Opp’n at 40 (quoting Maryland v. King,

567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers)). It is not clear which statute

enacted by Congress OMB believes it will be precluded from effectuating; certainly

not any of the appropriations Congress made which OMB now tries to withhold. And,

in any event, it is blackletter law that “the government has no interest in acting

unlawfully” and that “the public has an interest in having its government follow the

law.” Ramirez v. U.S. Immigr. & Customs Enf’t, 568 F. Supp. 3d 10, 34 (D.D.C. 2021).

       Finally, Defendants attempt to shoehorn into the public interest analysis a

complaint about the scope of relief, claiming (at 41) that “[a] broad preliminary




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injunction would have a significant chilling effect on the President’s and his advisors’

ability to lawfully direct and guide agencies’ spending decisions.” It remains unclear,

though, how a preliminary injunction against OMB and its director—not the

President—in an APA case could chill the President at all.

IV.    Staying injunctive relief or requiring a bond would undermine this
       Court’s ruling.

       In contesting the scope of relief, Defendants first argue (at 42) that any

preliminary injunction should be limited to grant awards to Plaintiffs alone. But that

fails to account for the rule in this Circuit that the appropriate remedy in APA

litigation is to set aside agency action in its entirety. See, e.g., Nat’l Mining Ass’n, 145

F.3d at 1409; see also D.C. v. U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 47 (D.D.C. 2020)

(explaining that “[t]he same reasoning has force in the preliminary injunction

context”). Instead, Defendants rely on a quotation selectively pulled from a discussion

of the lower evidentiary standards that apply to a preliminary injunction, as opposed

to a trial on the merits. Opp’n at 42 (quoting Univ. of Tex. v. Camenisch, 451 U.S.

390, 395 (1981)). And they do not explain how it would be practicable to sort out which

awards belong to Plaintiffs’ members, which number in the tens of thousands.

See ECF No. 5-3 ¶ 2; ECF No. 5-4 ¶ 1; ECF No. 5-5 ¶ 2.

       Defendants next argue (also at 42) that any relief should be limited to the

Freeze Order, and not to future iterations thereof. But what is already clear from the

short history of this case is that for an injunction to be worth the paper, it must

prevent Defendants from continuing to implement the same challenged conduct.




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      Defendants cite (at 43) a number of cases for the proposition that this Court

should enter more limited relief, but none are helpful to the analysis. Carlson v.

Postal Regulatory Commission makes the point that “the APA permits a court to sever

a rule by setting aside only the offending parts of the rule,” 938 F.3d 337, 351

(D.C. Cir. 2019)—but Defendants do not ask the Court to sever the Freeze Order and

do not attempt the relevant severability analysis. In City of New York v. Mickalis

Pawn Shop, LLC, the Second Circuit addressed a problematic injunction that

required a defendant to “adopt prophylactic measures to prevent violation” of

firearms laws, without identifying just how “the defendants must alter their behavior

to comply with those laws.” 645 F.3d 114, 144 (2d Cir. 2011) (alteration omitted). But

this bears no resemblance to the proposed order Plaintiffs submitted (and Defendants

do not actually claim otherwise).

      In Northern Air Cargo v. U.S. Postal Service, from the Chevron era, the court

remanded to the agency to ask it for an authoritative interpretation of a “hopelessly”

ambiguous statute. 674 F. 3d 852, 855 (D.C. Cir. 2012). Here, there is no similar need

to remand for OMB to do anything. State Farm sent an arbitrary and capricious rule

back to the agency for further consideration—but, unlike here, the agency was

statutorily required to issue standards via rulemaking. 463 U.S. at 46. No such

further agency action is necessary here. Public Employees for Environmental

Responsibility v. National Park Service provides an analysis of the ratification

doctrine, which is wholly inapplicable here. 605 F. Supp. 3d 28, 49 (D.D.C. 2022).

In re Microsoft Corp. Antitrust Litigation only confirms that the point of a preliminary




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injunction is to maintain the status quo, which is precisely what Plaintiffs seek. 333

F.3d 517, 525 (4th Cir. 2003). And Sherley v. Sebelius simply held that NIH was not

required to specifically address comments opposing all embryonic stem-cell research

when it issued guidance, at the direction of an executive order, setting out the terms

on which NIH funding would be available for such research. 689 F.3d 776, 784–85

(D.C. Cir. 2012). Here, by contrast, Plaintiffs do not allege that Defendants ignored

any comments, and no executive order or anything else required that they issue the

Freeze Order.

      Defendants next try to coerce Plaintiffs to limit relief themselves. They ask (at

44–45) that the Court require the plaintiff associations to “post a bond commensurate

with the scope of relief ordered”—meaning, apparently, sufficient to cover all

payments on open grants the government makes while the injunction is in effect. That

suggestion is facially absurd. Defendants point to no example of a court ordering a

bond in analogous circumstances. But cf. Powelton Civic Home Owners Ass’n v. Dep’t

of Hous. and Urb. Dev., 284 F. Supp. 809, 840–41 (E.D. Pa. 1968) (rejecting

“proposition that Rule 65(c) was intended to raise virtually insuperable financial

barriers insulating the agency’s decision from effective judicial scrutiny”).

      Defendants also make no effort to explain how OMB and its director could

themselves suffer monetary harm from the ordinary disbursement of payments on

open awards such that the bond requirement would be even theoretically applicable

here. See Fed. R. Civ. P. 65(c) (providing that bond may be appropriate to “pay the

costs and damages sustained by any party found to have been wrongfully enjoined”);




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Fed. Prescription Serv., Inc. v. Am. Pharm. Ass’n, 636 F.2d 755, 759 (D.C. Cir. 1980)

(confirming that courts may “dispense with any security requirement whatsoever

where the restraint will do the defendant no material damage” or “where there has

been no proof of likelihood of harm” (quotation marks omitted)).

      Given the lack of any plausible claim to damages by OMB or Director Vought,

and the sheer scale of the bond they suggest, it is difficult to conclude that

Defendants’ request is anything other than an effort to retaliate against Plaintiffs for

bringing this suit and to discourage potential litigants from bringing further

actions—ironic in a case that turns in part on Defendants’ efforts to suppress other

exercises of First Amendment rights. See generally Borough of Duryea, Pa. v.

Guarnieri, 564 U.S. 379, 387 (2011) (“[T]he right of access to courts for redress of

wrongs is an aspect of the First Amendment right to petition the government.”). The

Court should reject Defendants’ request out of hand.

      Finally, Defendants ask (at 45) the Court to stay any injunction pending

appeal. The Court should deny that request, too, because Plaintiffs have shown they

are likely to succeed on the merits, would be irreparably harmed without the Court’s

intervention, and that the balance of equities heavily favors keeping injunctive relief

in place. See generally Nken v. Holder, 556 U.S. 418, 433–34 (2009).

                                   CONCLUSION

      For all these reasons and those in Plaintiffs’ motion, the Court should enter a

preliminary injunction, without a bond and without a stay.




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Dated: February 18, 2025       Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      On February 18, 2025, I caused the foregoing to be filed electronically via the

Court’s CM/ECF system, which provides electronic notice to all counsel of record. I

further caused those documents to be served on pro se movant Beatrice Adams at

the mailing address she has entered on the record.


Dated: February 18, 2025                     /s/ Kevin E. Friedl
                                             Kevin E. Friedl
